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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Norfolk Division

  UNITED STATES OF AMERICA                            )
                                                      )
  v.                                                  )      Case No. 2:25-mj-55
                                                      )
  RAUL HECTOR VASQUEZ-ROBLES,                         )
                                                      )
                Defendant.                            )


    DEFENDANT’S RESPONSE IN OPPOSITION TO MOTION TO REVOKE RELEASE
                                ORDER
         Raul Hector Vasquez-Robles is not an unmitigable flight risk or danger to the community.

  Mr. Vasquez-Robles came to the United States in 2000 after his son was born. He admitted this to

  an Immigration and Customs Enforcement (ICE) agent in a post-arrest interview where he

  answered all of the agent’s questions and cooperated fully. After living in North Carolina for

  several years, Mr. Vasquez-Robles came to the Eastern District of Virginia about a decade ago in

  search of better job opportunities so that he could support his family. His criminal history is

  minimal. His ties to Mexico are nonexistent. His hard work has earned him a dedicated group of

  supporters and friends in Portsmouth, who hope that he will get out on bond so that he can finish

  the construction projects he has started for them. Multiple of these people say that Mr. Vasquez-

  Robles showed up on time when he was supposed to; one person remarked that she knows she

  could call him at any time to ask for his help and he would do it. Another person stated that Mr.

  Vasquez-Robles poses no threat of danger.

         After carefully considering the evidence during the detention hearing, United States

  Magistrate Judge Lawrence Leonard agreed with these individuals, finding that Mr. Vasquez-

  Robles is not an unmitigable flight risk or danger to the community. So, Magistrate Judge Leonard

  ordered the person’s release as required by the Bail Reform Act and set out his findings in a

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  thorough memorandum opinion and order. ECF No. 16. Notably, Magistrate Judge Leonard

  ordered multiple restrictive conditions of release that exceeded those that were recommended in

  the Pretrial Services Report (which also recommended release). ECF No. 10, at 4. Among the

  standard conditions, Magistrate Judge Leonard’s conditions of release also include a third-party

  custodian, electronic monitoring, a curfew, and a travel restriction. ECF No. 16, at 13. These are

  incredibly restrictive conditions that can reasonably assure the appearance of Mr. Vasquez-Robles

  as required and the safety of the community.

         Accordingly, this Court should not revoke the release order. The government has not shown

  that these restrictive conditions of release cannot reasonably assure the appearance of Mr. Vasquez-

  Robles as required and the safety of the community.

                                              ARGUMENT

         “In our society liberty is the norm, and detention prior to trial or without trial is the carefully

  limited exception.” United States v. Salerno, 481 U.S. 739, 755 (1987). The Bail Reform Act

  provides those limited exceptions. Because the government failed to meet its heavy burden of

  showing that no combination of release conditions would reasonably assure the safety of the

  community and Mr. Vasquez-Robles’s appearance as directed, the Court should grant his release.

         In determining whether any conditions of release would reasonably assure the appearance

  of the person as required and the safety of the community, the court must consider four factors:

  (1) “the nature and circumstances of the offense charged”; (2) “the weight of the evidence against

  the person”; (3) “the history and characteristics of the person”; and (4) “the nature and seriousness

  of the danger to any person or the community that would be posed by the person’s release.” 18

  U.S.C. § 3142(g). As the magistrate judge correctly found, these factors together did not




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  demonstrate that no conditions of release could reasonably assure the appearance of the person as

  required and the safety of the community. ECF No. 16, at 5; 18 U.S.C. § 3142(g).

     I.      The nature and circumstances of the offense strongly favor pretrial release.

          First, the nature and circumstances of the offense charged weigh strongly in favor of

  release. Mr. Vasquez-Robles is charged with illegal reentry in violation of 8 U.S.C. § 1326(a). It is

  beyond dispute that this offense does not fall within any of the categories of serious offenses

  enumerated in § 3142(g)(1). Nor is it even one of the offenses that categorically entitles the

  government to a detention hearing under § 3142(f)(2). Illegal reentry is a regulatory offense that

  involves no victim or weapon.

          Similarly, the seriousness of the penalty faced, if convicted, also does not create a serious

  risk that Mr. Vasquez-Robles will attempt to flee if released on bond. Although the offense charged

  is a felony, Mr. Vasquez-Robles faces a maximum of only two years on prison. 8 U.S.C. § 1326(a).

  Mr. Vasquez-Robles is not charged with any of the sentencing enhancements under 8 U.S.C.

  § 1326(b) that would raise the statutory maximum penalty. His base offense level under the

  guidelines will likely be 8; it does not appear that any of the specific offense enhancements in the

  guidelines will apply here. See U.S.S.G. § 2L1.2(a). If he were to plead guilty and accept

  responsibility, his offense level would be only 6. This shows that the nature and circumstances of

  the offense are among the least serious in the federal system. United States v. Vasquez-Benitez, 919

  F.3d 546, 551 (D.C. Cir. 2019) (affirming order releasing defendant under BRA and noting that

  “illegal reentry is a nonviolent crime” which, in that case, “appear[ed] to carry with it a relatively

  low penalty”). This factor strongly favors release. With these guidelines and this statutory

  maximum, it seems unlikely that the government would even be seeking detention if not for Mr.

  Vasquez-Robles’s citizenship status.

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         Still, the government argues that this factor favors detention based on the presence of the

  ICE detainer and the underlying facts concerning the Chesapeake traffic stop. However, these

  arguments are unavailing.

         First, the government cannot rely on the presence of the ICE detainer to deny Mr. Vasquez-

  Robles pretrial release. The detainer says on its face that this “detainer arises from DHS authorities

  and should not impact decisions about the alien’s bail.” DHS Form I-247A (emphasis added). 1

         Moreover, as Magistrate Judge Leonard explained, courts have held that the presence of an

  ICE detainer and the possibility of removal alone do not show that a defendant is unlikely to appear.

  See United States v. Santos-Flores, 794 F.3d 1088, 1091 (9th Cir. 2015) (holding that a district

  court erred in relying on the existence of an ICE detainer and the probability of immigration

  detention and removal to find that no conditions or combination of conditions will reasonably

  assure a defendant’s appearance). The Bail Reform Act demands an individualized analysis of the

  § 3142(g) factors to determine whether a defendant should be released on bond prior to trial. See

  id. (“The court may not [ ] substitute a categorical denial of bail for the individualized evaluation

  required by the Bail Reform Act”).

         The government’s decision regarding removal is not an indicator of nonappearance under

  the Bail Reform Act; “as a number of district courts have persuasively explained, the risk of

  nonappearance referenced in 18 U.S.C. § 3142 must involve an element of volition.” Santos-

  Flores, 794 F. 3d at 1091. If the government, by placing a defendant in immigration detention or

  removing him, jeopardizes the district court’s ability to try him, then the district court may craft




  1
   Available at https://www.ice.gov/sites/default/files/documents/Document/2017/I-247A.pdf (last
  accessed April 8, 2025).
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  an appropriate remedy. Id. “The court may not, however, substitute a categorical denial of bail for

  the individualized evaluation required by the Bail Reform Act.” Id. at 1091–92.

         Because § 3142(g) demands an individualized analysis, courts cannot categorically deny

  bond to removable aliens solely on the basis of their immigration status or the existence of an

  immigration detainer. See United States v. Sanchez-Rivas, 752 F. App’x 601, 604 (10th Cir. 2018)

  (holding that defendant “cannot be detained solely because he is a removable alien”); Santos-

  Flores, 794 F.3d at 1092 (“We conclude that the district court erred in relying on the existence of

  an ICE detainer and the probability of Santos–Flores’s immigration detention and removal from

  the United States to find that no condition or combination of conditions will reasonably assure

  Santos-Flores’s appearance pursuant to 18 U.S.C. § 3142(e).”); United States v. Barrera-Omana,

  638 F. Supp. 2d 1108, 1111 (D. Minn. 2009) (concluding that the mere presence of an ICE detainer

  does not override Congress’ detention plan in § 3142(g)); United States v. Chavez-Rivas, 536 F.

  Supp. 2d 962, 968 (E.D. Wis. 2008) (“[I]t would be improper to consider only defendant’s

  immigration status, to the exclusion of the § 3142(g) factors, as the government suggests.”).

         The Executive Branch’s Department of Justice should not be able to threaten that, if this

  Court follows the law under the Bail Reform Act, another arm of the Executive Branch (ICE/DHS)

  will cause the defendant not to be available for trial. If this Court orders release under the Bail

  Reform Act and the Executive Branch chooses to prioritize Mr. Vasquez-Robles’s removal over

  this prosecution, it is free to do so by dismissing this case and processing Mr. Vasquez-Robles for

  removal. But the Executive cannot hold the courts and Mr. Vasquez-Robles hostage over the

  prospect that it may make such a choice. See United States v. Trujillo-Alvarez, 900 F. Supp. 2d

  1167, 1180 (D. Or. 2012) (“[I]f the Executive Branch chooses to forgo criminal prosecution of Mr.




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  Alvarez-Trujillo on the pending charge of illegal reentry and deport him from the United States,

  as previously stated, there is nothing further for this Court to do.”).

          It is beyond peradventure that the Bail Reform Act’s standard provisions apply to cases

  involving aliens. Section 3142(d)(1)(B) provides for the temporary detention of removable aliens

  “for a period of not more than ten days” if the court finds that the individual may flee or poses a

  danger to any other person or the community. 18 U.S.C. § 3142(d). If the court fails to make such

  a finding, the court must treat the individual in accordance with the other provisions of the BRA.

  18 U.S.C. § 3142(d)(2). Likewise, if DHS “fails or declines to take such person into custody during

  that [ten-day temporary detention] period, such person shall be treated in accordance with the other

  provisions of [the Bail Reform Act].” § 3142(d)(2). The other provisions of the BRA require

  release unless the government meets its heavy burden of showing the person presents an

  unmitigatable risk of flight. Accordingly, § 3142(d) explicitly makes removable aliens subject to

  the BRA’s general standard for pretrial release and therefore implicitly authorizes their release on

  bond.

          As the Tenth Circuit has observed, “although Congress established a rebuttable

  presumption that certain defendants should be detained, it did not include removable aliens on that

  list.” United States v. Ailon-Ailon, 875 F.3d 1334, 1338 (10th Cir. 2017). Thus, Congress knew

  how to identify cases in which grounds for detention are intrinsic to the alleged offense. We also

  know that Congress explicitly contemplated the Bail Reform Act applying to non-citizen, non-

  LPRs who may be subject to detention by ICE. See § 3142(d). So merely pointing to the

  defendant’s status as a non-citizen, to his alleged removability, or to his generic ties to a foreign

  country cannot be enough for the government to meet its burden of proving that no condition will

  “reasonably assure the appearance of the person as required.” § 3142(e)(1). Indeed, if the only



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  evidence of the defendant’s flight risk consists of his foreign citizenship, immigration status, and

  the offense charged—even if the defense presents no evidence mitigating the risk of non-

  appearance—the person should be released. Otherwise, the Court will have found that facts

  intrinsic to the offense are sufficient to justify detention in the absence of some proof by the

  defense. That is the equivalent to a rebuttable presumption of detention for illegal reentry offenses,

  which Congress could have but affirmatively chose not to create. Accordingly, the Court should

  reject the government’s argument; the ICE detainer does not support detention.

         Next, the government relies on the circumstances surrounding the Chesapeake traffic stop

  on February 2, 2025. ECF No. 15, at 5. The government did not call the officers as witnesses during

  the detention hearing, relying instead on the police report. The police report states that Mr.

  Vasquez-Robles falsely identified himself to Chesapeake Police during the traffic stop. Then, after

  Mr. Vasquez-Robles apparently consented to a search of his car, officers discovered what they

  suspected to be “a small quantity of ‘crack’ cocaine on the floor of the vehicle.” Id. Purportedly,

  the officers also found two items of drug paraphernalia—a pipe and a push rod. However, the drug

  charge was ultimately nolle prossed, thus seemingly suggesting that the substance was not

  ultimately a controlled substance, that there were weaknesses or constitutional issues in the case,

  or that the Commonwealth did not deem the offense serious enough to pursue it.

         Furthermore, the government puts undue weight on the false identification issue for which

  Mr. Vasquez-Robles received a time-served sentence. This is not enough to show that conditions

  of release cannot reasonably assure Mr. Vasquez-Robles’s appearance as required. See United

  States v. Himler, 797 F.2d 156, 162 (3d Cir. 1986) (“[The defendant] is clearly capable of obtaining

  false identification, but there is no direct evidence to suggest that he would flee from prosecution

  in the future.”). The government states that Mr. Vasquez-Robles had a wallet full of “numerous



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  names printed on various cards.” ECF No. 15, at 2. The government equates this with the use of

  false government issued identification to try to show that Mr. Vasquez-Robles poses a flight risk.

  Id. at 5. But Magistrate Judge Leonard asked the government about this during the detention

  hearing, trying to determine whether these cards where false identification documents or just

  business cards of friends. The government answered that they were business cards. As Magistrate

  Judge Leonard remarked during the hearing, several people in the courtroom during the detention

  hearing likely had wallets full of business cards. The Court should not credit this argument from

  the government. Moreover, even if they were false identification cards, that would not mean that

  Mr. Vasquez-Robles is an unmitigable flight risk. See Himler, 797 F.2d at 162.

         This is not sufficient to show that any risk of flight cannot be addressed by conditions of

  release, like those imposed by Magistrate Judge Leonard. This is especially true considering Mr.

  Vasquez-Robles’s subsequent cooperation with the ICE agent during the post-arrest interview,

  where Mr. Vasquez-Robles cooperated fully. Agent Hamilton told Mr. Vasquez-Robles he had the

  right to remain silent and the right to an attorney. But still, Mr. Vasquez-Robles talked to the agent.

  Agent Hamilton told Mr. Vasquez-Robles that he was with ICE. And in the face of this agent who

  directly controlled Mr. Vasquez-Robles’s immigration fate, Mr. Vasquez-Robles freely told the

  agent that he had been removed from the United States before, and that he reentered the United

  States 25 years ago, after his son was born. When the ICE agent asked him to provide his

  fingerprints and photograph, Mr. Vasquez-Robles complied. As the ICE agent himself admitted

  during the detention hearing, Mr. Vasquez-Robles was polite and cooperative.

         Accordingly, the nature and circumstances of the offense strongly favor release here.




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      II.       The weight of the evidence likely favors the government, but the Court should not
                give this factor too much weight.
             Next, the second (g) factor, concerning the weight of the evidence, likely weighs against

  Mr. Vasquez-Robles. But in large part, this is because of his cooperation during the interview with

  the ICE agent, where Mr. Vasquez-Robles agreed to talk to the ICE agent, admitted to several

  elements of the offense, and agreed to provide fingerprints and a photograph when asked. But at

  any rate, this Court should not place too much emphasis on the weight of the evidence because

  doing so is akin to applying a presumption of guilt, which is expressly forbidden under § 3142(j).

  As courts have recognized, this factor should be treated as the “least important” of the § 3142(g)

  factors. See United States v. Townsend, 897 F.2d 989, 994 (9th Cir. 1990); United States v. Jones,

  566 F. Supp. 2d 288, 292 (S.D.N.Y. 2008) (“Courts generally consider the Weight Factor as the

  ‘least important’ of the Factors.”). Thus, this factor likely weighs in favor of detention, but it should

  not be given too much weight.

      III.      The history and characteristics of Mr. Vasquez-Robles support release as he has
                strong community ties to the area where he has resided for many years and he has
                minimal criminal history.
             Third, the history and characteristics of Mr. Vasquez-Robles support release as they show

  that he is not an unmitigable flight risk. Under this factor, courts consider: “the person’s character,

  physical and mental condition, family ties, employment, financial resources, length of residence

  in the community, community ties, past conduct, history relating to drug or alcohol abuse, criminal

  history, and record concerning appearance at court proceedings.” 18 U.S.C. § 3142(g)(3)(A).

             These considerations support pretrial release here. Mr. Vasquez-Robles has resided in the

  community for a long time—about a decade here in the Eastern District of Virginia. ECF No. 10,

  at 1. He came to this region in search of better job opportunities to support his family. He entered

  the country 25 years ago after his son was born.


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        The government contends that Mr. Vasquez-Robles lacks family ties to the area, which

 show that he is likely to flee. ECF No. 15, at 6. While it is true that his family does not reside in

 the Eastern District of Virginia, they are still close geographically—only a few hours away. Mr.

 Vasquez-Robles’s sister, son, and step-daughter all live in North Carolina. They live close enough

 that they could drive up to visit him in Portsmouth if he were released on bond. And Mr. Vasquez-

 Robles’s son reports that his dad was always present for important events growing up.

        Regardless, Mr. Vasquez-Robles still has strong ties to Portsmouth. As the bond report

 notes, the defendant’s girlfriend of many years lives in Portsmouth. ECF No. 10, at 1. And

 moreover, Mr. Vasquez-Robles’s hard work and kindness has earned him a dedicated group of

 supporters and friends in Portsmouth who rely on him. Over the past few years, Mr. Vasquez-

 Robles has been doing construction and handyman work in Portsmouth. The people for whom he

 has worked speak highly of him. They all hope that he will get bond so that he can finish the

 projects that he has started. Multiple of these people gladly call Mr. Vasquez-Robles their friend

 now too, like his third-party custodian who has known him for about five years. These individuals

 say that he is hardworking and does quality work. Multiple of them said that he showed up when

 he said he would, and that they would recommend him to others needing work.

        Next, Mr. Vasquez-Robles has minimal criminal history as noted in the bond report. ECF

 No. 10, at 3. During the detention hearing, the government claimed to have found additional

 charges in North Carolina, the most recent of which was 10 years ago. They are not mentioned in

 the bond report, nor has the government provided any evidence of these convictions to defense

 counsel yet. Their dispositions are unknown. ECF No. 16, at 12. But regardless, these charges all

 seem to have been misdemeanors; Agent Hamilton said that the charges were for driving under the

 influence, driving on a revoked or suspended license, and an open container violation. Id. at 4.



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 Even assuming that all of these charges resulted in convictions, the government cannot seriously

 contend that this criminal history shows that Mr. Vasquez-Robles is an unmitigable flight risk. Mr.

 Vasquez-Robles’s criminal history is minimal; it clearly favors pretrial release on conditions.

        The government also suggests here that Mr. Vasquez-Robles’s immigration status suggests

 that Mr. Vasquez-Robles is likely to flee. ECF No. 15, at 6. However, the government’s own

 statistics concerning undocumented citizens undercuts its argument. During the hearing, the

 defense offered a study by the Department of Justice itself that provided illuminating statistics

 regarding the rate that noncitizens violate conditions of their release and fail to appear. ECF No.

 11-4. The statistics show that, overwhelmingly, these individuals abide by their conditions of

 release and show up when required, as reflected in the following table:




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 Id. at 11 (highlight added). As these statistics from the DOJ itself show, only 0.5% of

 undocumented non-citizens released pretrial had a failure to appear. Id. Only 2% had a violation

 of any kind. Id. So, the DOJ’s own study suggests that there are conditions of release that can

 reasonably assure Mr. Vasquez-Robles’s presence as required and the safety of the community.

          Accordingly, this factor strongly favors pretrial release.

    IV.      Mr. Vasquez-Robles does not pose a danger to any person or the community if
             he were to be released.
          The government has not argued that Mr. Vasquez-Robles poses any danger to anyone if he

 were to be released. As Magistrate Judge Leonard stated: “the Government based its argument on

 the Defendant’s risk of nonappearance, not any alleged danger his release would pose to the

 community.” ECF No. 16, at 12. Mr. Vasquez-Robles has minimal criminal history, and the

 government has not suggested at any point that he poses a danger to anyone. This factor clearly

 favors release, as Magistrate Judge Leonard found.

                                            CONCLUSION

          The restrictive conditions of release imposed by Magistrate Judge Leonard will reasonably

 assure the appearance of Mr. Vasquez-Robles as required and the safety of the community. These

 restrictive conditions are more than enough to address any concerns about nonappearance.

 Accordingly, the Court should deny the government’s motion to revoke the release order.

                                                         Respectfully submitted,

                                                         RAUL HECTOR VASQUEZ-ROBLES

                                                         By:_________/s/_______________

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